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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


ERLIN EVER MENCIAS AVILA,

                   Plaintiff,

v.                                                     Civil No. 15-cv-2135 (TSC)

MATTHEW DAILEY,

                   Defendant.


     PLAINTIFF’S UNOPPOSED MOTION TO RETURN CASE TO ACTIVE
            DOCKET AND SCHEDULE STATUS CONFERENCE

       Pursuant to the Court’s Minute Order of August 2, 2017, Plaintiff Erlin Ever

Mencias Avila files this unopposed motion to return the case to the Court’s active docket

and to schedule a status conference.

       Following its decision granting Plaintiff’s motion for partial summary judgment

and denying Defendant Matthew Dailey’s cross motion for summary judgment, Doc. 39,

the Court scheduled a status conference to set due dates for motions in limine, the parties’

joint pretrial statement, the pretrial conference, and the trial. Minute Order of April 3,

2017. The status conference was rescheduled, Minute Order of April 11, 2017, and

subsequently vacated in light of Defendant’s motion for reconsideration and interlocutory

appeal, Minute Order of May 16, 2017. Following the Court’s decision on Defendant’s

motion for reconsideration, Doc. 47, the Court administratively closed this case and

directed the parties to file a motion to return the case to the Court’s active docket upon

resolution of the appeal, Minute Order of August 2, 2017. On September 25, 2017, the
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Court of Appeals dismissed Defendant’s interlocutory appeal and restored jurisdiction to

this Court. See Mandate, Doc. 49; Order, Doc. 49-1.

          The issues remaining for trial are: (1) whether Defendant received “specific

direction” from the United States Attorney’s Office for the District of Columbia to

continue holding Plaintiff’s van and tools following the dissipation of probable cause,

Reconsideration Order, Doc. 47 at 6; (2) whether Plaintiff received “sufficiently prompt

and sufficiently informative” notice regarding the seizure of his van and tools, Summary

Judgment Order, Doc. 38 at 24; (3) whether Defendant “made affirmative

misrepresentations which interfered with Plaintiff’s ability to pursue available remedies

for the return of his van,” id. at 25; and (4) the amount of damages, interest, costs, and

fees owed by Defendant to Plaintiff, if any. To resolve these issues, the Court should

return the case to the active docket and schedule a status conference to set due dates for

motions in limine, the parties’ joint pretrial statement, the pretrial conference, and the

trial.

          Pursuant to Local Civil Rule 7(m), Plaintiff’s counsel conferred with Defendant’s

counsel, and Defendant does not oppose the relief sought.



                                       Respectfully submitted,


                                       /s/ Michael T. Kirkpatrick
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October 11, 2017




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